                                          Case 3:15-cv-02106-RS Document 331 Filed 11/09/17 Page 1 of 7




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6                                  UNITED STATES DISTRICT COURT

                                   7                                 NORTHERN DISTRICT OF CALIFORNIA

                                   8
                                        CONSUMER FINANCIAL PROTECTION
                                   9    BUREAU,                                             Case No. 15-cv-02106-RS

                                  10                    Plaintiff,
                                                                                            JUDGMENT AND PERMANENT
                                  11             v.                                         INJUNCTION
                                  12    NATIONWIDE BIWEEKLY
Northern District of California
 United States District Court




                                        ADMINISTRATION, INC., et al.,
                                  13
                                                        Defendants.
                                  14

                                  15            Plaintiff in this action is Consumer Financial Protection Bureau. Defendants are

                                  16   Nationwide Biweekly Administration, Inc. (“Nationwide”), its wholly-owned subsidiary Loan

                                  17   Payment Administration (“LPA”), and Daniel Lipsky, the founder, president, sole officer, and sole

                                  18   owner of Nationwide. LPA functions essentially as a second name under which Nationwide

                                  19   markets its services.

                                  20            For the purposes of this judgment and permanent injunction, the following definitions

                                  21   apply:

                                  22                   1. “Clear and conspicuous” means
                                  23                           a. In textual communications (e.g., printed publications or
                                                       words displayed on the screen of an electronic device), the
                                  24                   disclosure must be of a type size and location sufficiently prominent
                                                       for an ordinary consumer to read and comprehend it, in print that
                                  25                   contrasts with the background on which it appears;
                                  26                           b. In communications disseminated orally or through audible
                                                       means (e.g., radio or streaming audio), the disclosure must be
                                  27                   delivered at a volume and cadence sufficient for an ordinary
                                                       consumer to hear and comprehend it;
                                  28
                                          Case 3:15-cv-02106-RS Document 331 Filed 11/09/17 Page 2 of 7



                                                               c. In communications disseminated through video means
                                   1                  (e.g., television or streaming video), the disclosure must be in
                                                      writing in a form consistent with subsection (a), and must appear on
                                   2                  the screen for a duration sufficient for an ordinary consumer to read
                                                      and comprehend it;
                                   3
                                                              d. In communications made through interactive media such
                                   4                  as the internet, online services, and software, the disclosure must be
                                                      presented in a form consistent with subsection (a), and that cannot
                                   5                  be bypassed;
                                   6                         e. In communications that contain both audio and visual
                                                      portions, the disclosure must be presented simultaneously in both
                                   7                  the audio and visual portions of the communication; and,
                                   8                          f. In all instances, the disclosure must be presented before
                                                      the consumer incurs any financial obligation, in an understandable
                                   9                  language and syntax, and with nothing contrary to, inconsistent
                                                      with, or in mitigation of the disclosures used in any communication
                                  10                  with the consumer.
                                  11                  2. “IM Program” means defendants’ Interest Minimizer Program, or
                                                      any other substantially-similar program, including any program that
                                  12                  involves defendants transmitting or exchanging funds or otherwise
Northern District of California
 United States District Court




                                                      acting as a custodian of funds or any financial instrument for use
                                  13                  by or on behalf of a consumer.
                                  14                  3. “Promotional Materials” means all print advertisements
                                                      (including direct-mail marketing letters, inserts, and envelopes),
                                  15                  savings analysis templates and documents, online enrollment forms
                                                      and contracts, defendants’ websites (including defendants’
                                  16                  audiovisual
                                                      presentations and videos made available on any proprietary or third-
                                  17                  party websites), digital or social media platforms, and any other
                                                      promotional and marketing materials that consumers receive from
                                  18                  defendants and that are used to promote, telemarket, advertise, sell,
                                                      offer, or provide the IM Program.
                                  19
                                                      4 “Scripts” means all telemarketing call scripts, talking points,
                                  20                  question-and-answer documents, and any other guidance or aids
                                                      used by defendants on telemarketing calls to promote, advertise,
                                  21                  telemarket, sell, offer, or provide the IM Program to consumers.
                                  22

                                  23          Following a bench trial, pursuant to the Opinion and Order filed on September 8, 2017,

                                  24   and upon due consideration of the parties’ respective proposals as to the terms of injunctive relief,

                                  25   judgment is entered in favor of plaintiff and against defendants as follows:

                                  26          1. Pursuant to 12 U.S.C. § 5565(c)(1), a civil penalty in the amount of $7,930,000 is

                                  27   imposed against Nationwide, LPA, and Lipsky jointly and severally.

                                  28                                                                     JUDGMENT AND PERMANENT INJUNCTION
                                                                                                                 CASE NO. 15-cv-02106-RS
                                                                                         2
                                          Case 3:15-cv-02106-RS Document 331 Filed 11/09/17 Page 3 of 7




                                   1          2. Defendants, and their officers, agents, servants, employees, and attorneys, who

                                   2   have actual notice of this Order, are enjoined as follows:

                                   3                  a. Defendants are enjoined from making false or misleading statements, directly or

                                   4          by implication, that they (i) are affiliated with, related to, sponsored by, or in partnership

                                   5          with the consumer’s bank, mortgage lender, mortgage servicer, or any other financial

                                   6          entity in any way already associated with the consumer’s loan or finances; (ii) are

                                   7          administering a feature of the consumer’s loan on behalf of the consumer’s bank, mortgage

                                   8          lender, mortgage servicer, or any other financial entity in any way already associated with

                                   9          the consumer’s loan or finances; (iii) are an arm, department, or unit of the consumer’s

                                  10          bank, mortgage lender, mortgage servicer, or any other financial entity in any way already

                                  11          associated with the consumer’s loan or finances; or, (iv) have a working or business

                                  12          relationship with the consumer’s bank, mortgage lender, mortgage servicer, or any other
Northern District of California
 United States District Court




                                  13          financial entity in any way already associated with the consumer’s loan or finances.

                                  14                  b. Defendants are enjoined from operating under the name “Loan Payment

                                  15          Administration” or any other trade name that suggests or misrepresents that the entity is an

                                  16          arm or department of the consumer’s bank, mortgage lender, or mortgage servicer.

                                  17                  c. Defendants are enjoined from making false or misleading statements, directly or

                                  18          by implication, that consumers have a preexisting obligation because of their mortgage

                                  19          loan or for any other reason to respond to the Promotional Materials, including by

                                  20          (i) labeling the direct-mail marketing letters as a “Notice” (e.g., “first,” “second,”

                                  21          “third,” or “final” and the like); (ii) using terminology that connotes an obligation for the

                                  22          consumer to contact defendants to “waive” or “decline” the IM Program (or similar

                                  23          language implying an obligation or need to contact the Defendants); or (iii) using

                                  24          statements such as “mortgage payment information enclosed” (or similar language

                                  25          implying that a bill or invoice is enclosed) or any phrasing that suggests the consumer has

                                  26          an obligation to respond to the direct-mail marketing letters by virtue of the consumer’s

                                  27          loan.

                                  28                                                                      JUDGMENT AND PERMANENT INJUNCTION
                                                                                                                  CASE NO. 15-cv-02106-RS
                                                                                         3
                                       Case 3:15-cv-02106-RS Document 331 Filed 11/09/17 Page 4 of 7




                                   1            d. During any telemarketing call, if a consumer inquires as to whether defendants

                                   2     have any relationship, affiliation, or connection to the consumer’s bank, mortgage lender,

                                   3     or mortgage servicer, defendants must clearly and conspicuously first inform the consumer

                                   4     that no such relationship exists (i.e., by using the word “no”) prior to providing any further

                                   5     explanation.

                                   6            e. In Promotional Materials and Scripts, defendants are enjoined from representing

                                   7     consumer savings calculated by estimating savings achieved over the life of the full loan

                                   8     term and then dividing that amount by the number of months in the loan, including

                                   9     using the terms “monthly,” “average,” or “yearly” interest savings, as well as any

                                  10     statements that purport to convey the amount of savings annually achieved by consumers

                                  11     at the end of any number of month(s) or year(s) in the IM Program.

                                  12            f. In Promotional Materials and Scripts, defendants are enjoined from representing,
Northern District of California
 United States District Court




                                  13     directly or by implication, that consumers will achieve “immediate” interest savings or any

                                  14     similar suggestion of near term interest savings at any time prior to the point that an

                                  15     “extra” payment is applied to principal.

                                  16            g. In Promotional Materials and telemarketing Scripts, defendants are enjoined

                                  17     from representing, directly or by implication, that all or “100%” of the “extra” debits or

                                  18     payments are applied to the loan principal, or any similar representation. If defendants’

                                  19     Promotional Materials state that any “extra” debits or payments are applied to the loan

                                  20     principal, defendants must also clearly and conspicuously disclose in equal prominence

                                  21     and close proximity to the statement that defendants do not apply the first “extra” debit to

                                  22     the loan principal but rather retain one-half (1/2) a monthly payment as the non-refundable

                                  23     setup fee for the IM Program.

                                  24            h. If the Promotional Materials include an estimated interest savings “guarantee”

                                  25     over the life of the loan, the Promotional Materials must include a clear and conspicuous

                                  26     explanation that interest savings will not result until the second “extra” payment is made

                                  27     and applied to the loan principal, and therefore, any interest savings are only guaranteed if

                                  28                                                                JUDGMENT AND PERMANENT INJUNCTION
                                                                                                            CASE NO. 15-cv-02106-RS
                                                                                    4
                                       Case 3:15-cv-02106-RS Document 331 Filed 11/09/17 Page 5 of 7




                                   1     the consumer remains enrolled in the IM Program at least until the time that second “extra”

                                   2     payment is made.

                                   3            i. Defendants are further enjoined from representing, directly or by implication,

                                   4     that consumers will save a specific dollar amount or achieve a savings benefit of a specific

                                   5     dollar amount at any particular point during the consumer’s participation in the IM

                                   6     Program if that amount is derived from average or total savings over the life of the loan.

                                   7     This does not preclude defendants from stating the total amount of savings the consumer

                                   8     will realize over the life of the loan as long as it is clearly and conspicuously disclosed that

                                   9     the stated dollar amount of the savings is based on the consumer participating in the IM

                                  10     program for the entire remaining term of the loan.

                                  11            j. Defendants are enjoined from making false or misleading statements, directly or

                                  12     by implication, regarding the existence or non-existence of alternatives to the IM program.
Northern District of California
 United States District Court




                                  13     If defendants elect to raise the point, or if a consumer asks whether he or she can achieve

                                  14     savings on his or her own, defendants must clearly and conspicuously disclose that some

                                  15     lenders may directly accept biweekly payments and may administer their own programs at

                                  16     no cost, and that the consumer should check with his or her own servicer to verify whether

                                  17     such a program exists. This does not preclude defendants from making truthful statements

                                  18     regarding any features of the IM program that may distinguish it from other programs.

                                  19            k. In Scripts defendants must disclose in a clear and conspicuous manner all fees

                                  20     for the IM Program (e.g., non-refundable setup fee and ongoing debiting fees) including

                                  21     the specific dollar amount of such fees. While defendants may state that the non-

                                  22     refundable set up fee equals one biweekly debit, they must also state the dollar amount

                                  23     whenever they do so. This disclosure must occur prior to requesting payment information

                                  24     from the consumer during telemarketing calls.

                                  25            l. Anytime a consumer asks defendants about any fees or costs before defendants

                                  26     have conducted the “savings analysis” or at a time when the exact dollar amount of the

                                  27     setup fee (or biweekly debit) is not yet known to defendants during the telemarketing call,

                                  28                                                                 JUDGMENT AND PERMANENT INJUNCTION
                                                                                                             CASE NO. 15-cv-02106-RS
                                                                                    5
                                       Case 3:15-cv-02106-RS Document 331 Filed 11/09/17 Page 6 of 7




                                   1     defendants must respond by disclosing and describing all fees for the program (e.g., a non-

                                   2     refundable setup fee and ongoing debiting fees). Defendants must clearly and

                                   3     conspicuously state that the consumer must pay a non-refundable setup fee equivalent to

                                   4     one-half (1/2) of the consumer’s monthly payment and that defendants will collect the fee

                                   5     from consumers the first time there are three debits in a month , instead of forwarding that

                                   6     first “extra” payment to the consumer’s servicer to be applied to the consumer’s mortgage.

                                   7            m. Anytime a consumer asks defendants about any fees or costs after defendants

                                   8     have conducted the “savings analysis” or at any point during the telemarketing call when

                                   9     defendants are aware of the consumer’s biweekly debit amount, defendants must clearly

                                  10     and conspicuously state and provide the consumer with the exact dollar amount of the

                                  11     nonrefundable setup fee, as well as the ongoing debiting fees.

                                  12            n. Defendants must provide clear and conspicuous written disclosures of all fees
Northern District of California
 United States District Court




                                  13     (e.g., a non-refundable setup fee and ongoing debiting fees), including the exact dollar

                                  14     amount of all fees, on savings analysis documents, the payment agreement and electronic

                                  15     debit authorization, the online contract, the executed contract, and any other documents

                                  16     sent to consumers during the telemarketing call or enrollment process.

                                  17            o. If defendants charge a setup fee or upfront fee that is not set with reference to the

                                  18     consumer’s weekly, biweekly, or semi-monthly debit amount, or if defendants charge

                                  19     consumers any other fees for the IM Program, defendants must provide clear and

                                  20     conspicuous disclosures of all such fees, including a description and exact dollar amount of

                                  21     such fees.

                                  22            p. Before a consumer consents to pay for goods and services offered during a

                                  23     telemarketing call, which occurs when a consumer provides her bank account information,

                                  24     defendants must disclose truthfully and in a clear and conspicuous manner the total cost to

                                  25     purchase the IM Program, including the specific dollar amount of all fees (e.g., non-

                                  26     refundable setup fee and ongoing debiting fees).

                                  27

                                  28                                                                JUDGMENT AND PERMANENT INJUNCTION
                                                                                                            CASE NO. 15-cv-02106-RS
                                                                                   6
                                          Case 3:15-cv-02106-RS Document 331 Filed 11/09/17 Page 7 of 7




                                   1   3. Judgment is entered in favor of plaintiff and against defendants on the counterclaims.

                                   2

                                   3   IT IS SO ORDERED.

                                   4

                                   5   Dated: November 8, 2017

                                   6                                                   ______________________________________
                                                                                       RICHARD SEEBORG
                                   7                                                   United States District Judge
                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28                                                                   JUDGMENT AND PERMANENT INJUNCTION
                                                                                                               CASE NO. 15-cv-02106-RS
                                                                                        7
